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                     EXHIBIT 6
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   From: David Yerushalmi
   Sent: Wednesday, August 23, 2023 1:32 PM
   To: 'King, Jeremy'; 'Elliker, Kevin'
   Cc: C.Page
   Subject: Meet and Confer Request re Motion to Compel


   Kevin,

   We need to meet and confer on your discovery responses in advance of our filing supplemental briefing
   on the pending motion to compel, for several reasons, set out below. We will need to get this scheduled
   by Tuesday of next week at the latest. In providing times, please note that I am currently in France with a
   6 hour time difference.:

   1.   A number of items in your privilege log of June 7, 2023 provide no details regarding recipient,
   sender, date of sending, time of sending; and are very scant on the basis of the privilege.

   2.    More importantly, the June 7 privilege log is not consistent with the Virginia privilege log of
   October 13, 2022. As far as we can tell, Martha Jenkins was not acting as an attorney for Petitioners, as
   she was acting as "staff of USCCB." Thus, no communications with Jenkins and Petitioners would be
   privileged.

   3.    Even if communications between Jenkins and Petitioners were privileged, that privilege was waived
   to the extent the same document or communication was sent to higher ups at the Conference or US
   government agencies (DOJ, FBI, DOS, DOD, USMC, DHS, et al) or Virginia state agencies or media.
   The privilege was also waived to the extent non-lawyers sent or received the communications, which is
   evident from the October 13, 2022 privilege log.

   4.    The deficiencies noted in the detailed analysis in the prior email of July 14, 2023 remain
   outstanding; and the spreadsheet tying bates numbers to RFPs has not remedied these deficiencies.

   N.B. Erratum to my prior email: The SDT to USCCB is the SDT served May 16, 2022 with a
   production return date of May 23, 2022, (erroneously referenced as "May 24, 2022 Virginia/DC SDT")

   5.   In addition, a review of your latest spreadsheet tying document bates numbers to the specific RFP
   seems poorly conceived. For example:

                   RFP 3 requests production of “All Documents or Communications between July 10, 2021
                   and present, relating to an intent by Jane Doe to harm herself or others." The spreadsheet
                   lists Does 00000848 as responsive, but this document does not relate in any way to RFP
                   3, being only a screenshot of Jane Doe's communications with Kim Motley about coming
                   to Kabul and follow on discussions and documents regarding leaving Afghanistan. See
                   0000848-851. Likewise 4550 (email from JKM to UCIS.DHS re Baby Doe seizures and
                   medical concerns) and 4567 (birth certificate) have nothing to do with RFP 3. 3348 -49
                   have nothing to do with RFP 3.

                   RFP 4 requests "All Documents or Communications between July 10, 2021 and present,
                   relating to any promise or condition(s) upon Jane Doe accompanying John Doe in leaving
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                  Afghanistan, including coming to America.” The spreadsheet references no documents
                  responsive to RFP 4 yet you have not indicated that there are no such documents.

                  RFP 5 requests “All Documents or Communications relating to bringing Baby Doe to
                  Kabul for medical care, between February 2019, and August 30, 2021.” The spreadsheet
                  references Donna Welton communications (3505-3506), JKM email to Col West (00039)
                  and numerous others irrelevant to RFP 5. The only relevant documents are 824-841.

                  RFP 7 - 000002; 3505-3506 are irrelevant to RFP7.

                  RFP 8, 9, 10 - no documents produced or listed.

                  RFP 11 - 1938, 1941, 1942 nonresponsive to RFP for "daughter" or equivalent.

   6.   You have yet to supplement your document production which Jeremy indicated would be done in
   “due course” on July 31. Nearly a month has passed.

   David Yerushalmi*

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